Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 1 of 36




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA

   THE OSAGE MINERALS COUNCIL,         )
                                       )
               Plaintiff,              )
                                       )
   vs.                                 )     Case No. 14-CV-704-GKF-JFJ
                                       )
   OSAGE WIND, LLC;                    )
   ENEL KANSAS, LLC; and               )
   ENEL GREEN POWER NORTH              )
   AMERICA, INC.,                      )
                                       )
               Defendants.             )




           DEFENDANTS OSAGE WIND, LLC, ENEL KANSAS, LLC, AND
    ENEL GREEN POWER NORTH AMERICA, INC.’S PARTIAL MOTION TO DISMISS
        THE OSAGE MINERALS COUNCIL’S COMPLAINT IN INTERVENTION




    Ryan A. Ray, OBA #22281                Lynn H. Slade, admitted pro hac vice
    NORMAN WOHLGEMUTH CHANDLER             Sarah M. Stevenson, admitted pro hac vice
    JETER BARNETT & RAY, P.C.              MODRALL, SPERLING, ROEHL,
    2900 Mid-Continent Tower               HARRIS & SISK, P.A.
    401 South Boston Avenue                Post Office Box 2168
    Tulsa, OK 74103                        Albuquerque, NM 87103-2168
    918-583-7571                           505-848-1800
    918-584-7846 (facsimile)               505-848-9710 (facsimile)

                                       ATTORNEYS FOR DEFENDANTS,
                                       OSAGE WIND, LLC, ENEL KANSAS, LLC
                                       AND ENEL GREEN POWER NORTH
                                       AMERICA, INC.
   Dated: May 6, 2020
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 2 of 36




                                                      TABLE OF CONTENTS

      INTRODUCTORY STATEMENT ..........................................................................................................1

      FACTUAL BACKGROUND .................................................................................................................2

      Land in Osage County ....................................................................................................................2

      History of Osage Wind’s Wind-Energy Project .............................................................................3

      The OMC’s State-Court Litigation Seeking to Enjoin the Project ...............................................4

      Subsequent Proceedings and the Tenth Circuit’s Decision ..........................................................8

      The OMC’s Complaint in Intervention ........................................................................................10

      ARGUMENT AND AUTHORITIES ........................................................................................12

      I.        GOVERNING STANDARDS. .................................................................................................12

      II.       TO THE EXTENT IT SEEKS TO ASSERT ANY REMEDY OTHER THAN MONEY
                DAMAGES FOR THE ROCK THAT WAS “SORTED,” “CRUSHED,” AND
                “EXPLOITED. . . AS STRUCTURAL SUPPORT,” THE COMPLAINT IN INTERVENTION
                IS BARRED BY THE LAW OF THE CASE DOCTRINE. ..........................................................13

     III.       EQUITABLE RELIEF AGAINST THE PROJECT IS BARRED BY THE DOCTRINES OF
                REX JUDICATA AND COLLATERAL ESTOPPEL, ARISING FROM THE STATE CASE. ..........15

                A. The OMC is Collaterally Estopped by the State Case from Seeking an
                   Injunction Against, or Ejectment of, the Project. ......................................................16

                B. Res Judicata Arising from the State Case Also Bars Injunctive Relief
                  (Including Ejectment). .................................................................................................17

     IV.        THE COMPLAINT IN INTERVENTION FAILS TO PLEAD SUFFICIENT FACTS
                PLAUSIBLY DEMONSTRATING POSSIBLE ENTITLEMENT TO EQUITABLE RELIEF. .........18

                A. The OMC Does Not Plead Sufficient Facts Demonstrating Plausible
                   Entitlement to a Permanent Injunction. ....................................................................18

                     1. There is No Plausibly Pleaded Irreparable Injury. ................................................19

                     2. As a Matter of Law, the OMC has an Adequate Remedy at Law............................21

                B. The OMC Does Not Plead Sufficient Facts Demonstrating Entitlement
                   to an Accounting. ........................................................................................................22



                                                                     i
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 3 of 36




                C. The OMC Does Not Plead Sufficient Facts Demonstrating Entitlement in
                   Disgorgement. .............................................................................................................23

       V.       BECAUSE THE COMPLAINT IN INTERVENTION DOES NOT (AND CANNOT)
                PLAUSIBLY ALLEGE THAT THE CONDUCT THE TENTH CIRCUIT FOUND TO BE
                UNLAWFUL IS ONGOING, THE CLAIM FOR “CONTINUING TRESPASS” FAILS. ................24

      CONCLUSION ................................................................................................................................25




                                                                      ii
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 4 of 36




                                                   TABLE OF AUTHORITIES

      Cases

      Adams v. Kinder-Morgan, Inc.
            340 F.3d 1083 (10th Cir. 2003) .........................................................................................16

      Allen v. Town of Colcord
              874 F. Supp. 2d 1276 (N.D. Okla. 2012) ...........................................................................12

      Anderson Living Tr. v. ConocoPhillips Co., LLC
            952 F. Supp. 2d 979 (D.N.M. 2013) ..................................................................................19

      Arizona v. California
             460 U.S. 605 (1983) ...........................................................................................................14

      Bell Atlantic v. Twombly
              550 U.S. 544 (2007) ...............................................................................................12, 18, 22

      Boyer v. Cline
             No. 85-1562-C, 1989 WL 9338 (D. Kan. Jan. 17, 1989)...................................................22

      Brokers’ Choice of Am., Inc. v. NBC Universal, Inc.
             861 F.3d 1081 (10th Cir. 2017) .........................................................................................14

      Casa Blanca DE Punta Mita v. Rayment
            No. 19-CV-00188-GKF-JFJ, 2020 U.S. Dist. LEXIS 31481
            (N.D. Okla. Jan. 30, 2020) .................................................................................................17

      Chieftain Royalty Co. v. Dominion Oklahoma Texas Expl. & Prod., Inc.
             No. CIV-11-344-R, 2011 WL 9527717 (W.D. Okla. July 14, 2011) ................................22

      Dairy Queen, Inc. v. Wood
             369 U.S. 469 (1962) ...........................................................................................................22

      Dalkita, Inc. v. Distilling Craft, LLC
             356 F. Supp. 3d 1125 (D. Colo. 2018) ...............................................................................19

      Davilla v. Enable Midstream Partners, L.P.
             247 F. Supp. 3d 1233 (W.D. Okla. 2017) ..........................................................................24

      Davilla v. Enable Midstream Partners L.P.
             913 F.3d 959 (10th Cir. 2019) .....................................................................................22, 24

      Dilworth v. Fortier
             1964 OK 112, 405 P.2d 38.................................................................................................20



                                                                   iii
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 5 of 36




      Dougherty v. McKee
            No. 16-5052, 2017 WL 2332591 (D.C. Cir. Feb. 2, 2017) ................................................18

      eBay Inc. v. MercExchange, L.L.C.
             547 U.S. 388 (206) .............................................................................................................19

      Edwards v. Lachman
            1974 OK 58, 534 P.2d 670.................................................................................................20

      The Estate of Lockett by & through Lockette v. Fallin
             841 F.3d 1098 (10th Cir. 2016) .........................................................................................12

      Fairlawn Cemetery Ass’n v. First Presbyterian Church
             1972 OK 66, 496 P.2d 1185.........................................................................................24, 25

      Fish v. Kobach
              840 F.3d 710 (10th Cir. 2016) ...........................................................................................19

      Godlewski v. Affiliated Computers Servs., Inc.
            210 F.R.D. 571 (E.D. Va. 2002) ..........................................................................................1

      Grynberg v. Koch Gateway Pipeline Co.
            290 F.3d 1276 (10th Cir. 2004) ...........................................................................................3

      Hedges v. Anastasio
            No. 09-CV-793-FHM, 2010 WL 5158557 (N.D. Okla. Dec. 14, 2010)............................18

      Hitch Enterprises, Inc. v. Cimarex Energy Co.
             859 F. Supp. 1249 (W.D. Okla. 2012) ...............................................................................23

      Horton v. Bank of Am., N.A.
            189 F. Supp. 3d 1286 (N.D. Okla. 2016) ...........................................................................24

      Howell Petroleum Corp. v. Leban Oil Corp.
            976 F.2d 614 (10th Cir. 1992) ...........................................................................................22

      Huffman v. Saul Holdings Ltd. P’ship
            262 F.3d 1128 (10th Cir. 2001) .........................................................................................14

      I.P.I.C., GSP, S.L. v. Ruhrpumpen, Inc.
              No. 08-CV-0510-CVE-PJC, 2008 WL 5122697 (N.D. Okla. Dec. 4, 2008) ....................22

      Jicarilla Apache Tribe v. Andrus
              687 F.2d 1324 (10th Cir. 1982) .........................................................................................20




                                                                   iv
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 6 of 36




      Jones v. Lewis
             957 F.2d 260 (6th Cir. 1992) .............................................................................................14

      Jorgensen v. Fed. Home Loan Mortg. Corp.
             No. 2:12-CV-00236-RWS, 2013 WL 3802498 (N.D. Ga. July 19, 2013) ........................18

      Khalik v. United Air Lines
             671 F.3d 1188 (10th Cir. 2012) .........................................................................................13

      Krug v. Helmerich & Payne, Inc.
             2013 OK 104, 320 P.3d 1012.......................................................................................23, 24

      Lane v. Simon,
             495 F.3d 1182 (10th Cir. 2007) .........................................................................................13

      Margaret Blair Tr. v. Blair
            2016 OK CIV APP 47, 378 P.3d 65 ..................................................................................23

      Mason v. Texaco, Inc.
            948 F.2d 1546 (10th Cir. 1991) .........................................................................................14

      McIlravy v. Kerr-McGee Coal Corp.
            204 F.3d 1031 (10th Cir. 2000) .........................................................................................14

      Monsanto Co. v. Geertson Seed Farms
            561 U.S. 139 (2010) ...........................................................................................................19

      Next Level Communs. L.P. v. DSC Communs. Corp.
             179 F.3d 244 (5th Cir. 1999) .............................................................................................16

      Nichols v. Danley
             266 F. Supp. 2d 1310 (D.N.M. 2003) ................................................................................13

      Oneida Tribe of Indians v. AGB Props.
            02-CV-233, 2002 U.S. Dist. LEXIS 16538 (N.D.N.Y. Sep. 5, 2002) ...............................16

      Osage Nation v. Bd. of Comm’rs,
            2017 OK 34, 394 P.3d 1224.................................................................................................6

      Osage Nation v. Irby
            597 F.3d 1117 (10th Cir. 2010) .......................................................................................2, 3

      Osage Nation ex rel. Osage Minerals Council v. Wind Capital Grp., LLC
            No. 11-CV-643-GKF-PJC, 2011 WL 6371384 (N.D. Okla. Dec. 20, 2011) ......................4




                                                                   v
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 7 of 36




      In re Packaged Seafood Prod. Antitrust Litig.
             No. 15-MD-2670 JLS (MDD), 2017 WL 2332591 (D.C. Cir. Feb. 2, 2017) ....................18

      Park Lake Resources Ltd. Liability Co. v. United States Dept. of Agriculture
            378 F.3d 1132 (10th Cir. 2004) .........................................................................................16

      Pittsburg Cty. Rural Water Dist. No. 7 v. City of McAlester
             358 F.3d 694 (10th Cir. 2004) ...........................................................................................14

      Quarles v. Little River Energy Co.
            No. 00-CV-913-GKF-PJC, 2008 WL 185715 (N.D. Okla. Jan. 18, 2008)....................... 23

      RoDa Drilling Co. v. Siegal
            552 F.3d 1203 (10th Cir. 2009) .........................................................................................19

      Roe v. Cheyenne Mt. Conference Resort
             124 F.3d 1221 (10th Cir. 1997) .........................................................................................19

      Rupp v. Omaha Indian Tribe
             45 F. 3d 1241 (8th Cir. 1995) ............................................................................................20

      Schafer v. Centerpoint Energy Oklahoma Gas
             No. 17-CV-365-GKF-FHM, 2018 WL 10140171 (N.D. Okla. May 21, 2018) ................24

      Schrier v. Univ. of Colo.
             427 F.3d 1253 (10th Cir. 2005) .........................................................................................19

      SEC v. Gordon
             822 F. Supp. 2d 1144 (N.D. Okla. 2011) ...........................................................................16

      Sierra Club, Inc. v. Bostick
             539 F. App’x 885 (10th Cir. 2013) ....................................................................................19

      SizeWise Rentals, Inc. v. Mediq/PRN Life Support Servs.
             No. 00-351, 2000 U.S. App. LEXIS 11859 (10th Cir. May 26, 2000) ..............................21

      St. Louis Baptist Temple, Inc. v. F.D.I.C.
              605 F.2d 1169 (10th Cir. 1979) .........................................................................................13

      Stanley v. Gallegos
             No. CV 11-1108 BDW/JHR, 2018 WL 3801247 (D.N.M. Aug. 9, 2018) ........................22

      Tilton v. Capital Cities/ABC
              827 F. Supp. 674 (N.D. Okla. 1993) ..................................................................................21




                                                                 vi
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 8 of 36




      United States v. Bell
             5F.3d 64 (4th Cir. 1993) ....................................................................................................14

      United States v. Hess
             194 F.3d 1164 (10th Cir. 1999) .........................................................................................24

      United States v. Osage Wind, LLC
             871 F.3d 1078 (10th Cir. 2017) ................................................................................. Passim

      Ute Indian Tribe v. Utah
             114 F.3d 1513 (10th Cir. 1997) .........................................................................................14

      Vaughn v. Countrywide Home Loans, Inc.
            No. CIV-09-CV-357-JL, 2009 WL 4726635 (D.N.H. Dec. 1, 2009) ................................18

      Village of Logan v. U.S. Dep’t of Interior
             577 Fed. App’x 760 (10th Cir. 2014) ................................................................................19

      Westside Mothers v. Olszewski
             454 F.3d 532 (6th Cir. 2006) .............................................................................................14

      Wyandotte Nation v. City of Kansas City
           200 F. Supp. 2d 1279 (D. Kan. 2002) ................................................................................20


      Constitutional Provisions

      Okla. Const., art. XVII, § 8 ..............................................................................................................2



      Statutes

      Osage Nation Act of June 5, 1872, ch. 310, 17 Stat. 228 ................................................................2

      Osage Act of June 28, 1906, ch 3572, 34 Stat. 539 .........................................................................2


      Federal Regulations

      25 C.F.R. § 211.3 .........................................................................................................................8, 9

      25 C.F.R. § 214.7 .......................................................................................................................8, 20




                                                                      vii
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 9 of 36




      Court Rules

      Fed. R. App. P. 4 ..............................................................................................................................8

      Fed. R. Civ. P. 12 .....................................................................................................................12, 13




      Other Authorities

      53A AM. JUR. 2D MINES AND MINERALS § 14..................................................................................9




                                                                      viii
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 10 of 36




           Defendants, Osage Wind, LLC (“Osage Wind”), Enel Kansas, LLC, and Enel Green Power

    North America, Inc. (collectively, the “Defendants”), hereby move to partially dismiss the

    Complaint in Intervention filed by the Osage Minerals Council (the “OMC”) in accordance with

    FED. R. CIV. P. 12(b)(6).1 In support, the Defendants state as follows:

                                      INTRODUCTORY STATEMENT

           On April 13, 2020, the Court entered an Order granting the OMC’s Motion to Intervene.

    (Dkt. # 136). The Court’s Order, in its entirety, stated “the Motion to Intervene of the Osage

    Minerals Council is granted. The Complaint in Intervention shall be filed by April 15, 2020.” (Id.).

    In opposition to the OMC’s Motion to Intervene, the Defendants had raised six arguments in

    opposition to intervention (Dkt. # 118, at 7-22), only one of which related to the futility of the

    Complaint in Intervention. (See id. at 18-22). The Court’s Order did not analyze the FED. R. CIV.

    P. 12(b)(6) issues or make any findings on those issues. (See Dkt. # 136).

           The Defendants, therefore, proceed with this Motion, and wish to make clear that they are

    not challenging:

              Either of the OMC’s declaratory-judgment claims, except to the extent inconsistent

               with United States v. Osage Wind, LLC, 871 F.3d 1078 (10th Cir. 2017) (the “Tenth

               Circuit’s Opinion”); or

              The OMC’s trespass or conversion claims, except as inconsistent with the Tenth

               Circuit’s Opinion.

    This Motion does challenge the OMC’s ability to:



    1
      Because the Defendants are seeking dismissal of part of the Complaint in Intervention, they are
    not required to file an Answer or other responsive pleading with respect to the other claims until
    this Motion is resolved. See FED. R. CIV. P. 12(A)(4); Godlewski v. Affiliated Computers Servs.,
    Inc., 210 F.R.D. 571, 572 (E.D.Va. 2002); Finnegan v. University of Rochester Medical Center,
    180 F.R.D. 247, 249 (W.D.N.Y. 1998).
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 11 of 36




              Pursue any equitable remedy in this case;

              Pursue a continuing trespass claim; and

              Pursue certain allegations inconsistent with the Tenth Circuit’s Opinion.

    Those claims and allegations are barred because (i) they are not permissible under the Tenth

    Circuit’s Opinion; (ii) prior litigation filed by the OMC in the District Court of Osage County

    (after Project construction began) precludes those remedies here; and/or (iii) the OMC does not

    plausibly plead facts to justify the pursuit of such claims and allegations as a matter of law.

                                         FACTUAL BACKGROUND

                                          Land in Osage County

           The Tenth Circuit’s decision in this case summarizes land rights in Osage County:

           Congress established an Indian reservation for the Osage Nation in 1872, Act of
           June 5, 1872, ch. 310, 17 Stat. 228, and Oklahoma thereafter incorporated the
           Osage-occupied territory as Osage County, Okla. Const., art. XVII, § 8. In 1906,
           Congress severed the Osage mineral estate in Osage County from the surface estate.
           Act of June 28, 1906 (Osage Act), ch. 3572, 34 Stat. 539, §§ 2-3. The Osage Act
           parceled out the surface estate to individual tribe members—a distribution practice
           known as “allotment”—and made these allotted lands freely alienable. Id. § 2. The
           Act also ensured that the property owners could use the land for “farming, grazing,
           or any other purpose not otherwise” prohibited by the Osage Act. Id. § 7.

           The mineral estate beneath those lands, however, was not allotted to individual
           members of the tribe. Id. § 3. Rather, the mineral estate was reserved for the benefit
           of the Osage Nation. Id. The United States was established as legal trustee for the
           mineral estate while the Osage Nation retained beneficial ownership. See, e.g.,
           Osage Nation v. Irby, 597 F.3d 1117, 1120 (10th Cir. 2010). The Act further
           empowered the Osage Nation to issue leases for “all oil, gas, and other minerals”
           in the reserved mineral estate. Osage Act, 34 Stat. 539, § 3. Those leases required
           the approval of the U.S. Department of Interior (DOI) and were subject to further
           regulation by DOI rulemaking. Id.

    United States v. Osage Wind, LLC, 871 F.3d 1078, 1082 (10th Cir. 2017). Further, the Tenth

    Circuit Court of Appeals has directly held that “the Osage reservation has been disestablished by




                                                    -2-
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 12 of 36




    Congress.” Osage Nation v. Irby, 597 F.3d 1117, 1127 (10th Cir. 2010). Any allegation or

    suggestion that such a reservation continues to exist is contrary to law. See also Dkt. # 151, 7-9.

                              History of Osage Wind’s Wind-Energy Project

           Osage Wind, at all times, made the Osage Nation (the “Nation”), the Osage Minerals

    Council (“OMC”), and the United States Bureau of Indian Affairs (the “BIA”), fully aware of its

    plans to construct a wind-energy project in Osage County (the “Project”). Beginning in 2008, the

    Project’s initial developer, Wind Capital Group (“WCG”), and later Osage Wind, engaged the

    OMC, the Nation, the BIA, and the United States Department of the Interior regarding a proposal

    to develop the Project in Osage County. (Dkt. # 17-2, at 3-4, 21-25).2 In 2010, Osage Wind leased

    approximately 8,400 acres of privately owned fee surface estate in Osage County to develop the

    Project. (Dkt. # 17-1, at 3).3

           The Project plans identified 84 turbine sites and 10 alternate sites. (Dkt. # 17-1, at 3). On

    April 15, 2011, Osage Wind met with representatives of the OMC and provided the OMC with

    copies of the proposed site plans for the Project for review and comment. (Dkt. # 17-2, at 4, 22).

    In September 2011, the BIA raised a concern that the Project could interfere with oil and gas

    production in Osage County, and, in a meeting to discuss the BIA’s concern that occurred on

    October 7, 2011, WCG provided representatives of the BIA, the OMC, and the Nation with copies



    2
      As the OMC previously noted in this case, its intervention has allowed it to “stand in the shoes
    of the United States.” (Dkt. # 60, at 5). To the degree the referenced materials were submitted as
    to the United States, they are properly considered against the OMC as well, since it “stand[s] in
    the shoes of the United States” and because communications with the BIA and the DOI, its trustee,
    are part and parcel of the OMC’s theory. (See Dkt. # 140, at ¶ 42). And it is clear that a court may
    take judicial notice, on a motion to dismiss, of information contained in prior court files. See
    Grynberg v. Koch Gateway Pipeline Co., 390 F.3d 1276, 1278 n.1 (10th Cir. 2004).
    3
      None of the leased surface estate was held in trust by the United States for the Osage Nation, in
    trust for the benefit of an enrolled member of the Osage Nation, or subject to restriction by the
    United States against alienation. (Id.).
                                                   -3-
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 13 of 36




    of the detailed site plans. (Id. at 5-6, 23). These plans showed the placement of each turbine and

    the total footprint of the Project. (Id. at 7). The OMC and the Nation then filed a lawsuit in this

    Court, “generally predicated on the allegation the [Project] [would] unlawfully interfere with its

    rights to develop the Osage Mineral Estate.” Osage Nation ex rel. Osage Minerals Council v.

    Wind Capital Grp., LLC, No. 11-CV-643-GKF-PJC, 2011 WL 6371384, at *2 (N.D. Okla. Dec.

    20, 2011) (the “Prior Federal Litigation”).

            It was not until October 10, 2013, when, for the first time, the OMC suggested that the

    Project “may be” subject to federal regulation under 25 C.F.R. Parts 211 and 214. (Dkt. # 17-2. at

    7-8, 39-41). On October 28, 2013, WCG responded to the OMC, copying Interior Department

    officials and BIA Osage Agency Superintendent Phillips, disputing the contention that the BIA

    could regulate the Project under Parts 211 and 214 and that a lease or permit was required for

    surface construction because Osage Wind “will not remove or sell any materials from the Project

    site,” (Id. at 8, 42, 43). Neither the OMC nor any Interior Department or BIA recipient responded.

    (Id. at 8).

            Project construction began on October 25, 2013. (Dkt. # 17-1, at 4). The BIA was made

    aware in November 2013 that Osage Wind had started Project construction, (Dkt. # 28-3, at 3),

    and was reminded of WCG’s October 28, 2013 letter advising OMC no lease or permit was

    required because Osage Wind “will not remove or sell any materials from the Project site.” (Dkt.

    # 17-2, at 7-8).

                       The OMC’s State-Court Litigation Seeking to Enjoin the Project

            In the interim, the OMC commenced litigation in the District Court of Osage County, styled

    Osage Nation and Osage Minerals Council v. Osage County Board of County Commissioners, et

    al., District Court of Osage County Case No. CV-2014-41 (the “State Case”). The OMC’s Petition



                                                    -4-
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 14 of 36




    was filed on June 25, 2014 (copy attached as Exhibit A, without exhibits thereto). The State Case

    Petition, which was filed after the OMC and the BIA were aware construction had commenced

    and OMC had contended Parts 211 and 214 “may be” at issue, alleged as follows:

              “Located below the entirety of the proposed Osage Wind Energy site lies the Osage

               Mineral Estate. The Osage Mineral Estate consists of oil and gas and solid minerals,

               including, but not limited to, sand, gravel, limestone and other solid minerals. The

               United States holds the Osage Mineral Estate in trust for the benefit of the Osage

               Nation.” (Exh. A, at ¶ 16, pp. 6-7).

              Paragraph 55 of the State Court Petition sought “a permanent injunction against the

               Defendants [including Osage Wind, LLC], enjoining and restraining the Defendants

               from . . . using the property and the subsurface mineral estate for a Wind Energy

               Facility.” (Emphasis added; see also Exh. A, at ¶ 5, Count IV Demand for Relief on p.

               17; Prayer for Relief, ¶ d, pp. 19-20).

    The District Court of Osage County dismissed the State Court Petition on several grounds, the first

    of which was that “the Osage Minerals Council’s claims in [the State Court Case] are barred by

    the doctrine of laches.” (October 23, 2014 Journal Entry of Judgment, at 3, ¶ 1, copy attached as

    Exhibit B). The Court explained that the OMC “waited for nearly three (3) years to seek to raise

    those challenges, and, in the interim and as established by the face of the [State Court] Petition . . .

    , Osage Wind began work on the wind energy project at issue . . . .” (Id.).4



    4
      The OMC did not appeal, and the District Court of Osage County’s Judgment accordingly became
    final as to the OMC. The Osage Nation did, however, appeal. Of note, the Oklahoma Supreme
    Court affirmed the dismissal of the Osage Nation’s claims for equitable relief against the Project,
    concluding that “Plaintiffs brought their action almost three years after a permit was issued by the
    governmental agency authorizing the location of the project and after construction had commenced
    on a utility scale construction project. Plaintiff had knowledge of the scale and location of the
    project during that three-year period. We affirm the District Court's order dismissing plaintiff's
                                                     -5-
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 15 of 36




                          Turbine Foundation Work and Related Communications

              Turbine excavation work began on September 10, 2014.5 (Dkt. # 17-1, at 5). The BIA

    waited until (1) one year after it was aware construction had begun and two years after it learned

    of Osage Wind’s position that no lease or permit was required because it “will not remove or sell

    any materials from the Project site,” and (2) over a month after excavation began, to mention, in

    an October 9, 2014 letter from Osage Agency Superintendent Robin Phillips, that a “Sandy Soils

    Permit” may be required of Osage Wind. (See Dkt, #4-3; Dkt. # 17-1, at 4 (stating construction

    began on October 25, 2013, and foundation excavation work on September 10, 2014)).

    Superintendent Phillips’ October 9, 2014 letter makes no mention of a lease, but instead focuses

    only on the “Sandy Soils Permit,” a term which appears nowhere in Part 211 or 214 or any other

    published BIA source. (See Dkt. # 4-3).

              In response to the October 9, 2014 letter, Lynn H. Slade, counsel for Defendants, sent

    emails to Field Solicitor Alan R. Woodcock on October 20, 2014, and Superintendent Phillips on

    October 21, 2014, attaching a legal memorandum explaining why Osage Wind believed it was not

    required to have a lease or permit, and, again, requesting a meeting with the BIA and the OMC.

    (Dkt. # 28-1, at 2, 3, 8-9). Similar communications occurred on October 20, 2014 when Jeff Riles

    of Enel met with BIA Regional Director Robert Impson, and provided further information about

    excavation activities, and offered to respond to any further questions and to schedule a field trip to

    view operations.       (Dkt. # 28-2, at 1-2).     The BIA did not, in response to Mr. Slade’s

    communications to Field Solicitor Woodcock and Superintendent Phillips, in the conversation with



    petition against Osage Wind upon application of laches.” Osage Nation v. Bd. of Comm’rs, 2017
    OK 34, ¶ 43, 394 P.3d 1224, 1239. The Supreme Court further made clear that this conclusion
    was entirely independent of the Prior Federal Litigation in this Court. Id. at ¶ 50, 394 P.3d at 1242.
    5
        Of note, this was before the entry of the judgment in the State Case.
                                                     -6-
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 16 of 36




    Mr. Impson, or in response to Mr. Riles’ follow-up letter or phone calls, assert a lease or “Sandy

    Soil Permit” was required or request that construction cease. (Id. at 2).6

            The excavated hole for each of the turbine foundations measured approximately 10 feet

    deep and 50 to 60 feet in diameter. (Dkt. # 17-1, at 3, 5; Dkt. # 27-1, at 3). Materials excavated

    included sand, soil, and rock in various sizes. (Id.). After Osage Wind dug the holes, it poured

    foundations, with concrete mixed and prepared using exclusively purchased materials. (Dkt. # 17-

    1, at 5-7). When the foundations had cured, Osage Wind returned the sand, soil, and pieces of

    rock smaller than three feet that had been crushed on site to a size of three inches or less to the

    hole from which it had been excavated. (Id. at 5). Rock-crushing activities were conducted only

    for filling in the holes around the turbine foundations. (Dkt. # 27-1, at 5). Rock pieces larger than

    three feet were stacked and remain stockpiled adjacent to the site of the foundation hole from

    which they were removed. (Dkt. # 17-1, at 5). Crushing rocks in place and returning them to the

    hole from which they were removed is a standard and customary construction practice. (Id.). No

    sand, soil, or rock was used for any purpose other than to return it to the hole from which it came

    or to stack it adjacent to the excavation site. (Id. at 6).

            Turbine excavation work was completed by November 21, 2014 (Dkt. # 140, ¶ 49), the

    date the United States filed its Complaint in this case. (Dkt. # 2). Commercial operation of the

    Project commenced by May 2, 2015. (Dkt. # 41). The total surface footprint of the Project’s

    facilities is approximately 1.5% of the 8,400 acres leased, or 126 acres. (Dkt. # 17-1, at 3).




    6
      Between October 20 and November 10, 2014, the Defendants’ counsel continued to inquire of
    the BIA about its position, and expressed Osage Wind’s willingness to meet with the BIA and/or
    Osage Nation or OMC representatives to discuss the matter further. (Dkt. # 28-1, at 2-3). Similar
    communications ensued in the weeks thereafter, without the BIA or OMC advising that
    construction should cease, until the United States filed the litigation and served the Defendants
    with process. (See id.).
                                                      -7-
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 17 of 36




                       Subsequent Proceedings and the Tenth Circuit’s Decision

           On September 30, 2015, Judge Payne granted summary judgment in favor of the

    Defendants. (Dkt. # 44). The OMC alone filed a notice of appeal challenging Judge Payne’s

    Summary Judgment decision on the last day for the United States to appeal in accordance with the

    deadline of FED. R. APP. P. 4, and it also sought to intervene in this Court for the limited purpose

    of appeal. (See Dkt. # 46, at 3 (“As such, this Court should grant intervention for purposes of

    appeal.” (emphasis added); Dkt. # 49).

           The Tenth Circuit Court of Appeals, in an Opinion authored by Judge Ebel, reversed Judge

    Payne’s grant of summary judgment.

           The Tenth Circuit’s core holding was as follows:

           This case presents the question whether a large-scale excavation project—which
           involved the excavation, modification, and use of rock and soil during the
           installation of wind turbines—constituted “mining” under the pertinent federal
           regulations that address mineral development on Indian land. When an entity
           engages in “mining” of minerals owned by the Osage Nation, a federally approved
           lease must be obtained from the tribe. 25 C.F.R. § 214.7. The Bureau of Indian
           Affairs (BIA) has defined “mining” as the “science, technique, and business of
           mineral development[.]” 25 C.F.R. § 211.3. We hold that the term “mineral
           development” has a broad meaning. While it includes commercial mineral
           extractions and offsite relocations, which are not at issue here, it also encompasses
           action upon the extracted minerals for the purpose of exploiting the minerals
           themselves on site.

    United States v. Osage Wind, LLC, 871 F.3d 1078, 1081 (10th Cir. 2017) (emphasis added). The

    Tenth Circuit made a critical observation about the case’s procedural posture before it: “After

    discovering that Osage Wind had completed excavation in late November 2014, the United States

    withdrew its request for an injunction and filed an amended complaint for damages based on the

    alleged unauthorized extraction of reserved minerals.” Id. at 1083-84 (emphasis added).

           The Tenth Circuit concluded that only certain of Osage Wind’s activities constituted

    “mining”—namely, its “sort[ing] and then crush[ing] the minerals and us[ing] them as backfill to

                                                   -8-
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 18 of 36




    support its wind turbine structures.” Id. at 1090. The Tenth Circuit rejected the assertion that

    solely breaking the ground or the Project’s mere presence was unlawful:

           We agree with Osage Wind, however, that merely encountering or incidentally
           disrupting mineral materials would not trigger § 211.3’s definition. In other
           words, “the simple removal of dirt does not constitute mining.” 53A Am. Jur. 2d
           Mines and Minerals § 14. There is simply no sense in which the word “mineral
           development” means only the removal of dirt without some further manipulation,
           commercialization, or offsite relocation of it. The problem here is that Osage Wind
           did not merely dig holes in the ground—it went further. It sorted the rocks, crushed
           the rocks into smaller pieces, and then exploited the crushed rocks as structural
           support for each wind turbine. The ultimate question is whether this operation
           constitutes “mineral development” as we have conceptualized the term. We hold
           that it does.

    Id. at 1091 (first and final emphases added). In other words, it was only because Osage Wind had

    “sorted the rocks, crushed the rocks into smaller pieces, and then exploited the crushed rocks as

    structural support for each wind turbine” that Osage Wind’s activities constituted “mining.” The

    Court did not find the mere presence of the Project to be unlawful.

           The Tenth Circuit also noted that “[i]t might be reasonable to adopt the construction

    favored by Osage Wind, which sets as the definitional boundary the commercialization of the

    minerals.” Id. (emphasis added). After all, Judge Payne agreed. But the Tenth Circuit rejected it,

    based upon the “Indian canon of construction,” which provides that “ambiguity in laws designed

    to favor the Indians ought ‘to be liberally construed’ in the Indians’ favor.” Id. at 1090. Any

    suggestion, though, that Osage Wind’s activities constituted some sort of willful bad faith cannot

    be squared with the Tenth Circuit’s Opinion, which was expressly answering a previously

    unanswered question and one it found to have an ambiguous answer based upon then-existing law.

           Lest any doubt remain in what activities the Tenth Circuit was, and was not, determining

    to be unlawful, it made that clear when it harmonized its decision with the Osage Allotment Act.

    The Court noted that the Osage Allotment Act granted “expansive authority” “to surface-estate



                                                  -9-
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 19 of 36




    owners to use and develop their land.” Id. at 1092. And the Court made clear that “merely

    encountering or disrupting the mineral estate does not trigger the definition of ‘mining’ under 25

    C.F.R. § 211.3. If the minerals are not being shipped offsite or commercialized,[7] then they must

    be acted upon for the purpose of exploiting the minerals themselves.” Id. at 1092 (emphasis added).

              The Tenth Circuit, in closing, remanded the case to this Court “for further proceedings

    consistent with this Opinion.” (Id. at 1093, emphasis added). The Defendants sought certiorari at

    the United States Supreme Court, which declined to hear the case on January 7, 2019.

                                    The OMC’s Complaint in Intervention

              The Defendants do not challenge the OMC’s ability to litigate its claims for declaratory

    relief and to pursue money damages for trespass and/or conversion (albeit only consistent with the

    Tenth Circuit’s Opinion). The Defendants do, however, challenge the following portions of the

    Complaint in Intervention:

                 The OMC correctly acknowledges that “[b]y November 21, 2014 . . . Defendants had

                  completed their excavation of the Osage Mineral Estate.” (Dkt. # 140, at ¶ 49). Yet,

                  in Paragraphs 60, 61, 103, and 104, the OMC alleges that mere presence of the Project

                  is a continuing trespass. These allegations (and any other portion of the Complaint in

                  Intervention that can be read similarly) cannot be squared with the Tenth Circuit’s

                  Opinion, which specifically found that it was only the entire process of “sort[ing], . .

                  .crush[ing] . . . [and] then exploit[ing] the rocks that rendered its activities “mining.”

                 The OMC alleges in Paragraphs 49, 50, 92, 94, 110, 112, and 123 that Osage Wind’s

                  activities were done “willfully and intentionally and in bad faith.” There are no factual

                  allegations that would support this conclusory statement. Osage Wind believed, in



    7
        The Court made clear that it meant “commercialize” to be “the sale of minerals.” Id. at 1089.
                                                       - 10 -
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 20 of 36




              good faith, based upon a detailed legal analysis, that neither a lease nor permit were

              required; it advised the United States and the OMC of this conclusion in response to

              any suggestion a lease or permit may be required; the United States and the OMC

              delayed substantially in asserting to the contrary (until after construction and

              excavation had commenced); and the United States did not file suit (which it did at the

              OMC’s request) until, as the OMC alleges, excavation was completed. Judge Payne

              agreed with the Defendants’ position. The Tenth Circuit found that the regulations

              were ambiguous and the Defendants’ interpretation was reasonable, only rejecting it

              through application of the Indian canon of construction. There is no factual basis

              pleaded in the Complaint in Intervention (nor that exists) for alleging a right to a

              remedy based on allegations that Osage Wind was acting in intentional bad faith.

             The Complaint in Intervention seeks equitable remedies that cannot be squared with

              the Tenth Circuit’s Opinion and its well-pleaded facts:

              o The OMC seeks to pursue remedies “sounding in equity, including disgorgement

                  of profits.” (Dkt. # 140, at ¶ 118; see also id. at ¶ 119 (“any other equitable

                  remedy”); id. at ¶ 125 (“all equitable remedies”).

              o The OMC alleges entitlement to an accounting of “all revenue attributable to the

                  Osage Wind wind farm operation.” (Dkt. # 140, at ¶ 120).

              o As a purported part of its accounting claim, the OMC seeks “a judgment in favor

                  of [the OMC] disgorging all revenues resulting from the unlawful wind farm

                  operation.” (Id. at ¶ 121).




                                                 - 11 -
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 21 of 36




                o Also as a purported part of its accounting claim, the OMC seeks “a judgment in

                    favor of Plaintiff to address the unjust enrichment resulting from the unlawful

                    wind farm operation.” (Id. at ¶ 122).

                o The OMC alleges that its trespass and conversion claims include the element of

                    bad faith (id. at ¶ 123), which, as noted above, is not supported by the allegations

                    of the Complaint in Intervention or the actual facts, and beyond money damages

                    seeks recovery of “applicable multipliers, additions, penalties and accruals to date

                    of judgment.” (Id.).

                o The OMC seeks injunctive relief against “continuing trespass [and] other work

                    that concerns the Osage Mineral Estate, including but not limited to ejectment”

                    (id. at ¶ 124; see also id. at ¶¶ 60-61, 94, 104, 112, 114, 119).

                                  ARGUMENT AND AUTHORITIES

    I.     GOVERNING STANDARD.

           To avoid dismissal under FED. R. CIV. P. 12(b)(6), “Factual allegations must be enough to

    raise a right to relief above the speculative level[.]” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

    (2007) (citations omitted). “When there are well-pleaded factual allegations, a court should assume

    their veracity and then determine whether they plausibly give rise to an entitlement to relief,” but

    a complaint must “contain enough facts to state a claim for relief that is plausible on its face.”

    Allen v. Town of Colcord, 874 F. Supp. 2d 1276, 1282 (N.D. Okla. 2012) (citation and quotation

    omitted). “Mere labels and conclusions and a formulaic recitation of the elements of a cause of

    action are insufficient.” The Estate of Lockett by & through Lockett v. Fallin, 841 F.3d 1098, 1107

    (10th Cir. 2016) (quotation marks and citations omitted). “Accordingly, in examining a complaint

    under Rule 12(b)(6), [the Court] will disregard conclusory statements and look only to whether



                                                   - 12 -
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 22 of 36




    the remaining, factual allegations plausibly suggest the defendant is liable.” Khalik v. United Air

    Lines, 671 F.3d 1188, 1191 (10th Cir. 2012). Dismissal is therefore appropriate where the

    complaint fails to allege “facts supporting all the elements necessary to establish an entitlement to

    relief under the legal theory proposed.” Lane v. Simon, 495 F.3d 1182, 1186 (10th Cir. 2007)

    (quotation omitted).

           Issue and claim preclusion may be raised in a FED. R. CIV. P. 12(b)(6) motion. Nichols v.

    Danley, 266 F. Supp. 2d 1310, 1312 (D.N.M. 2003). And in deciding such a motion, federal courts

    may take notice of proceedings in other courts, both within and outside of the federal judicial

    system. St. Louis Baptist Temple, Inc. v. F.D.I.C., 605 F.2d 1169, 1172 (10th Cir. 1979).

    II.    TO THE EXTENT IT SEEKS TO ASSERT ANY REMEDY OTHER THAN MONEY DAMAGES
           FOR THE ROCK THAT WAS “SORTED,” “CRUSHED,” AND “EXPLOITED . . . AS
           STRUCTURAL SUPPORT,” THE COMPLAINT IN INTERVENTION IS BARRED BY THE LAW OF
           THE CASE DOCTRINE.

           The Tenth Circuit’s Opinion contemplates relief limited to money damages for volumes of

    minerals removed by actions constituting “mining” as defined by the Opinion. See Osage Wind,

    LLC, 871 F.3d at 1083-84 (“the United States withdrew its request for an injunction and filed an

    amended complaint for damages based on the alleged unauthorized extraction of reserved

    minerals.”) (emphasis added); id. at 1091 (concluding that “merely encountering or incidentally

    disrupting mineral materials”—in any amount—would not constitute mining; but rather it was only

    “mining” because of the entire “operation” of “sort[ing] the rocks, crush[ing] the rocks into

    smaller pieces, and then exploit[ing] the crushed rocks as structural support for each wind turbine”

    that amounted to mining). There is no fair reading of the Tenth Circuit’s Opinion that would

    countenance the allegation that its reference to “operation” meant the entire Project, as opposed to

    the operation of rock crushing that it specifically described.




                                                   - 13 -
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 23 of 36




           “[W]hen a case is appealed and remanded, the decision of the appellate court establishes

    the law of the case.” McIlravy v. Kerr-McGee Coal Corp., 204 F.3d 1031, 1034-35 (10th Cir.

    2000). “The ‘law of the case’ doctrine requires every court to follow the decisions of courts that

    are higher in the judicial hierarchy.” Pittsburg Cty. Rural Water Dist. No. 7 v. City of McAlester,

    358 F.3d 694, 711 (10th Cir. 2004) (emphasis in original). The “law of the case doctrine was

    understandably crafted with the course of ordinary litigation in mind.” Arizona v. California, 460

    U.S. 605, 618-19 (1983). Accordingly, “[a]n appellate court decision on a particular issue, unless

    vacated or set aside, governs the issue during all later stages of the litigation in the district court

    and thereafter on any further appeal.” Brokers’ Choice of Am., Inc. v. NBC Universal, Inc., 861

    F.3d 1081, 1099 (10th Cir. 2017).

           In addition, an “important corollary” to the law-of-the-case doctrine, known as the mandate

    rule, provides that “a district court must comply strictly with the mandate rendered by the

    reviewing court.” Ute Indian Tribe v. Utah, 114 F.3d 1513, 1520-21 (10th Cir. 1997); Huffman v.

    Saul Holdings Ltd. P’ship, 262 F.3d 1128, 1132 (10th Cir. 2001); see also Mason v. Texaco, Inc.,

    948 F.2d 1546, 1553 (10th Cir. 1991). “Thus, when [a court of appeals] remands for further

    proceedings, a district court must, except in rare circumstances, ‘implement both the letter and

    spirit of the ... mandate, taking into account [its] opinion and the circumstances it embraces.’”

    United States v. Bell, 5 F.3d 64, 66 (4th Cir. 1993); Westside Mothers v. Olszewski, 454 F.3d 532,

    538 (6th Cir. 2006). “When the reviewing court, in its mandate, prescribes that a court shall

    proceed in accordance with the opinion of the reviewing court or that a court shall proceed for the

    reasons given in the opinion, that pronouncement operates to incorporate the opinion into the

    mandate.” Jones v. Lewis, 957 F.2d 260, 262 (6th Cir. 1992).




                                                    - 14 -
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 24 of 36




           Here, the Tenth Circuit clearly expressed that it was considering claims “for damages” and

    not any kind of claims for (i) injunctive relief, (ii) accounting, (iii) disgorgement, (iv) unjust

    enrichment, or (v) any other equitable remedy of any kind. And that makes sense as the Tenth

    Circuit merely found that the entire “operation” of “sort[ing] the rocks, crush[ing] the rocks into

    smaller pieces, and then exploit[ing] the crushed rocks as structural support for each wind turbine”

    amounted to activity requiring a lease under applicable law. An accounting of the entire revenues

    of the Project, disgorgement of such revenues, ejectment of the Project, or an injunction against

    its operation was not what the Tenth Circuit contemplated, nor would it be appropriate remedial

    relief for the actual activity the Tenth Circuit found unlawful.        Rather, it contemplates a

    straightforward determination of the money damages at issue, which should be limited to the value

    of the rock that was sorted, crushed, and exploited into structural support. Efforts to expand the

    case into a larger challenge to the entire Project and to seek punitive remedies are not consistent

    with the Tenth Circuit’s clear finding that “merely encountering or incidentally disrupting mineral

    materials”—in any amount—would not constitute mining or its statement that only money

    damages remain at issue. This Court must not permit such a marked deviation from the Tenth

    Circuit’s Opinion and mandate, and the OMC’s Complaint in Intervention must be dismissed to

    the extent inconsistent with the Tenth Circuit’s Opinion.

    III.   EQUITABLE RELIEF AGAINST THE PROJECT IS BARRED BY THE DOCTRINES                     OF   RES
           JUDICATA AND COLLATERAL ESTOPPEL, ARISING FROM THE STATE CASE.

           The Tenth Circuit found that the Prior Federal Litigation in this Court in 2011 was not res

    judicata. Osage Wind, 871 F.3d at 1086-87. The Court based this conclusion on its finding that—

    in 2011—construction had not commenced, and its scope was not known. Id. at 1087. Thus, found

    the Court, Osage Wind could not “show that the claim reasonably could have been raised in the

    prior lawsuit.” Id. But things were different in 2014, when the OMC filed the State Case.

                                                   - 15 -
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 25 of 36




           A. The OMC is Collaterally Estopped by the State Case from Seeking an Injunction
              Against, or Ejectment of, the Project.

           “Issue preclusion or collateral estoppel prevents relitigation of issues that were decided in

    a previous case . . . .” SEC v. Gordon, 822 F. Supp. 2d 1144, 1153 (N.D. Okla. 2011). “Issue

    preclusion bars relitigation of an issue, even if the issue ‘arises when the party is pursuing or

    defending against a different claim.’” SEC v. Gordon, 822 F. Supp. 2d 1144, 1153 (N.D. Okla.

    2011) (quoting Park Lake Resources Ltd. Liability Co. v. United States Dept. of Agriculture, 378

    F.3d 1132, 1136 (10th Cir. 2004)). The party raising issue preclusion must prove four elements:

           (1) the issue previously decided is identical with the one presented in the action in
           question, (2) the prior action has been fully adjudicated on the merits, (3) the party
           against whom the doctrine is invoked was a party, or in privity with a party, to the
           prior adjudication, and (4) the party against whom the doctrine is raised had a full
           and fair opportunity to litigate the issue in the prior action.

    Adams v. Kinder-Morgan, Inc., 340 F.3d 1083, 1093 (10th Cir. 2003). The denial of a request for

    permanent injunctive relief in one proceeding is an “issue” for purposes of issue preclusion. Next

    Level Communs. L.P. v. DSC Communs. Corp., 179 F.3d 244, 255 (5th Cir. 1999). The same is

    true of a request for the remedy of ejectment by an Indian Tribe against private persons. Oneida

    Tribe of Indians v. AGB Props., 02-CV-233 (LEK/DRH) (Lead Case), 2002 U.S. Dist. LEXIS

    16538, at *22 (N.D.N.Y. Sep. 5, 2002).

           Applying these principles, the question of whether the OMC may pursue (i) an injunction

    against the Project’s operation, (ii) an injunction against the Project’s “presence” in Osage County,

    or (iii) ejectment of the Project, is easy to answer. The OMC, in the State Case, sought an

    injunction against the Project’s operations and presence in land overlaying the Osage Mineral

    Estate. (See Exh. A, at ¶ 55; see also id. at ¶ 5, Count IV Demand for Relief on p. 17; Prayer for

    Relief, ¶ d, pp. 19-20). The District Court of Osage County directly decided that the OMC was

    not entitled to such an injunction on several grounds, including that the OMC “waited for nearly

                                                   - 16 -
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 26 of 36




    three (3) years to seek to raise those challenges, and, in the interim and as established by the face

    of the [State Court] Petition . . . , Osage Wind began work on the wind energy project at issue

    . . . .” (Id.). That finding was made in a journal entry of judgment that on its face stated that it

    “this constitutes a final judgment in accordance with” Oklahoma law. (Exh. B, at 5).8 And the

    OMC had a full and fair opportunity to litigate the issue of injunctive relief, as it filed a lengthy

    and detail response to Osage Wind’s motion to dismiss and participated in a hearing before the

    District Court. (See id. at 2). The doctrine of issue preclusion—or collateral estoppel—therefore

    bars the OMC from seeking injunctive relief against the Project’s operations or existence,

    including the related remedy of ejectment.

            B. Res Judicata Arising from the State Case Also Bars Injunctive Relief (Including
               Ejectment).

            “The doctrine of res judicata, or claim preclusion, operates to bar the relitigation of issues

    by the parties or their privies which were or could have been litigated in an action which resulted

    in a final judgment on the merits.” Casa Blanca DE Punta Mita v. Rayment, No. 19-CV-00188-

    GKF-JFJ, 2020 U.S. Dist. LEXIS 31481, at *14 (N.D. Okla. Jan. 30, 2020). The issue of whether

    the OMC was entitled to enjoin the Project’s operations was, in fact, litigated by the OMC in the

    State Case. The judgment in the state case was not based upon some purely technical pleading

    defect, but rather was decided on the merits in that the OMC had waited to challenge the Project

    until it knew that construction had commenced. And the District Court of Osage County was a

    court of competent jurisdiction—it being a court of general jurisdiction with personal jurisdiction




    8
      Though the Judgment in the State Case is, standing alone, final as to the OMC because it did not
    appeal, the Oklahoma Supreme Court affirmed the finding that the request for injunctive relief
    failed against the Osage Nation (which should be considered a privy of the OMC, see Dkt. # 140,
    at ¶¶ 1, 11, 12) on the grounds that it waited to bring its quest for injunctive relief (identical to the
    OMC’s) until it knew that construction on the Project had commenced. See supra n.2.
                                                     - 17 -
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 27 of 36




    over all parties. Moreover, while the Tenth Circuit found commencement of Project construction

    to be new facts that precluded a finding that the Prior Federal Litigation in this Court was res

    judicata, the same is not true of the State Case. The face of the Judgment there expressly finds

    that the OMC knew Project construction was underway, and in fact the Judgment was not entered

    until after turbine excavation work was underway. Res judicata accordingly applies as well.

    IV.    THE COMPLAINT IN INTERVENTION FAILS TO PLEAD SUFFICIENT FACTS PLAUSIBLY
           DEMONSTRATING POSSIBLE ENTITLEMENT TO EQUITABLE RELIEF.

           An entitlement to equitable relief is subject to Twombly’s strictures. Hedges v. Anastasio,

    No. 09-CV-793-FHM, 2010 WL 5158557, at *2 (N.D. Okla. Dec. 14, 2010); Jorgensen v. Fed.

    Home Loan Mortg. Corp., No. 2:12-CV-00236-RWS, 2013 WL 3802498, at *3 (N.D. Ga. July 19,

    2013); Vaughn v. Countrywide Home Loans, Inc., No. CIV. 09-CV-357-JL, 2009 WL 4726635, at

    *2 (D.N.H. Dec. 1, 2009); In re Packaged Seafood Prod. Antitrust Litig., No. 15-MD-2670 JLS

    (MDD), 2017 WL 35571, at *13 (S.D. Cal. Jan. 3, 2017) (“Accordingly, the Court concludes that

    no Plaintiff has adequately alleged an entitlement to injunctive relief.”); Dougherty v. McKee, No.

    16-5052, 2017 WL 2332591, at *1 (D.C. Cir. Feb. 2, 2017) (“Any claims for injunctive relief were

    properly dismissed as well for failure to state a claim upon which relief can be granted” and citing

    Twombly). Because the OMC’s Complaint in Intervention does not plausibly plead necessary

    elements for injunctive relief, requests for such relief should be dismissed.

           A. The OMC Does Not Plead Sufficient Facts Demonstrating Plausible Entitlement to
              a Permanent Injunction.

           “[A] plaintiff seeking a permanent injunction must satisfy a four-factor test before a court

    may grant such relief. A plaintiff must demonstrate: (1) that it has suffered an irreparable injury;

    (2) that remedies available at law, such as monetary damages, are inadequate to compensate for

    that injury; (3) that, considering the balance of hardships between the plaintiff and defendant, a



                                                   - 18 -
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 28 of 36




    remedy in equity is warranted; and (4) that the public interest would not be disserved by a

    permanent injunction.” Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 156–57 (2010)

    (quoting eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006)). The failure on any one

    factor is fatal. Dalkita, Inc. v. Distilling Craft, LLC, 356 F. Supp. 3d 1125, 1141 (D. Colo. 2018)

    (citing Village of Logan v. U.S. Dep't of Interior, 577 Fed. App’x 760, 766 (10th Cir. 2014) and

    Sierra Club, Inc. v. Bostick, 539 F. App’x 885, 888 (10th Cir. 2013)). Moreover, especially in the

    context of a permanent injunction, “[t]he most important factor for the district court to consider is

    whether the facts indicate a danger of future violations . . . .” Roe v. Cheyenne Mt. Conference

    Resort, 124 F.3d 1221, 1230 (10th Cir. 1997).

                    1. There is No Plausibly Pleaded Irreparable Injury

            Injunctions do not remedy past harms. Schrier v. Univ. of Colo., 427 F.3d 1253, 1267 (10th

    Cir. 2005). In order to demonstrate irreparable harm, “a plaintiff must demonstrate ‘a significant

    risk that he or she will experience harm that cannot be compensated after the fact by money

    damages.’” Fish v. Kobach, 840 F.3d 710, 751 (10th Cir. 2016) (quoting RoDa Drilling Co. v.

    Siegal, 552 F.3d 1203, 1210 (10th Cir. 2009)); Anderson Living Tr. v. ConocoPhillips Co., LLC,

    952 F. Supp. 2d 979, 1059 (D.N.M. 2013) (in a case involving alleged improper taking of minerals

    in alleged violation of that permitted by an oil and gas lease (i.e., a taking for which there allegedly

    was no lease, finding that “[t]he Court also dismisses the Plaintiffs' claim for injunctive relief,

    because the Plaintiffs have alleged that the Defendants' conduct will cause them only monetary

    harm, a harm that is not irreparable.”). Here, the precise amount of rock that was “sorted,”

    “crushed,” and “exploited . . . as structural support” is knowable (and known) and can be calculated

    with precision, and there is no plausible allegation that the Defendants are engaged in the specific




                                                     - 19 -
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 29 of 36




    conduct that the Tenth Circuit found to be “mining” or that they threaten to do so in the future.9

    Its value can be determined by reference to market sources. It is not impossible or even difficult

    to quantify the money damages that will compensate for the wrong found by the Tenth Circuit.

    There is, therefore, no irreparable harm plausibly pleaded.

           Perhaps recognizing the infirmity of its position, the OMC alleges that a “threat[]” to its

    “ability . . . to exercise its inherent sovereign authority over the Osage Mineral Estate” is an

    irreparable injury in and of itself. (Dkt. # 140, at ¶ 60). Apparently, under the OMC’s theory, any

    alleged impairment of its “sovereignty” axiomatically cannot be “compensated by money

    damages.” (See id.). The OMC is simply incorrect that the equitable powers of this Court in this

    case are immune from, and unaffected by, federal courts’ equitable jurisprudence. The Tenth

    Circuit has succinctly stated the applicable principle and its application:

         The equitable nature of this suit is of paramount importance. When Congress leaves
         to the federal courts the formulation of remedial details, it can hardly expect them to
         break with historic principles of equity in the enforcement of federally-created
         equitable rights. If Congress had intended to make a drastic departure from the
         traditions of equity practice, an unequivocal statement of that purpose would have
         been made. An appeal to the equity jurisdiction of the federal district courts is an
         appeal to the sound discretion which guides the determinations of courts of equity.

    Jicarilla Apache Tribe v. Andrus, 687 F.2d 1324, 1333 (10th Cir. 1982) (internal quotations and

    citations omitted); see also Wyandotte Nation v. City of Kansas City, 200 F. Supp. 2d. 1279, 1284

    (D. Kan. 2002); Rupp v. Omaha Indian Tribe, 45 F. 3d 1241, 1245 (8th Cir. 1995).



    9
      It now appears that both the United States and the OMC believe that this case should be resolved
    by a judicially imposed lease in accordance with 25 C.F.R. § 214.7. (See Dkt. # 141, at 5-6; Dkt.
    # 147, at 9-11). Neither of them expressly sought that relief in any pleading proper filed in this
    case. And it is not clear by what authority such relief could be imposed. For example, in the
    analogous context of oil and gas operations, if a lessor takes minerals without a lease, the remedy
    is not to impose a lease, but to require the payment of the value of the taken minerals. See, e.g.,
    Edwards v. Lachman, 1974 OK 58, ¶ 17, 534 P.2d 670, 674; Dilworth v. Fortier, 1964 OK 112, ¶
    27, 405 P.2d 38, 45. All that notwithstanding, the pursuit of such a theory is flatly inconsistent
    with any notion that the Project should be enjoined or removed entirely.
                                                    - 20 -
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 30 of 36




            Applying traditional federal equitable principles, the Tenth Circuit affirmed the exercise of

    discretion by the District Court for the District of New Mexico, which had found a violation of the

    tribal oil and gas leasing regulations. But equitable principles required withholding equitable lease

    cancellation: “[i]n light of the virtual impossibility of putting these parties back in status quo after

    years of exploration and development, we do not think the district court abused its equitable

    discretion in refusing to grant outright cancellation.” Andrus, 687 F.2d at 1333. Thus, it is simply

    not the case that an alleged infringement of the OMC’s “sovereignty” is a per se irreparable injury.

    Since the injury at issue is of the kind that is traditionally and fully compensated by money

    damages, there is no irreparable injury in this case.

            2. As a Matter of Law, the OMC has an Adequate Remedy at Law.

            “"Where there is a full, complete, and adequate remedy at law through recovery of

    calculable money damages, the injury is not irreparable and equity will not apply the extraordinary

    remedy of injunction.” SizeWise Rentals, Inc. v. Mediq/PRN Life Support Servs., No. 00-3051,

    2000 U.S. App. LEXIS 11859, at *13-14 (10th Cir. May 26, 2000); Tilton v. Capital Cities/ABC,

    827 F. Supp. 674, 682 (N.D. Okla. 1993) (“[M]oney damages are an adequate remedy at law.”).

    Here, the presence of the Project is not unlawful, and the only reason that any of the Defendants

    were found to have engaged in conduct that ran afoul of the applicable regulations is only because

    of Osage Wind’s entire “operation” of “sort[ing] the rocks, crush[ing] the rocks into smaller

    pieces, and then exploit[ing] the crushed rocks as structural support for each wind turbine” that

    amounted to mining.       See Osage Wind, LLC, 871 F.3d at 1091 (concluding that “merely

    encountering or incidentally disrupting mineral materials”—in any amount—would not constitute

    mining). The amount of rock subject to that operation—and its value—are readily ascertainable.

    Especially since the Tenth Circuit found that other construction activities were not mining (and



                                                     - 21 -
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 31 of 36




    did not find that the Project’s mere presence was mining or required a lease), the injury arising

    from that conduct is fully compensable by money damages.10

           B. The OMC Does Not Plead Sufficient Facts Demonstrating Entitlement to an
              Accounting.

            “A claim for an equitable accounting is sufficient if it alleges ‘(1) a confidential

    relationship; (2) the defendant had control over another's property and records concerning the

    property; (3) after a demand for an accounting defendant did not account or return the property;

    and (4) there was no adequate remedy at law.’” I.P.I.C., GSP, S.L. v. Ruhrpumpen, Inc., No. 08–

    CV–0510–CVE–PJC, 2008 WL 5122697, at *4 (N.D. Okla. Dec. 4, 2008) (quoting Howell

    Petroleum Corp. v. Leban Oil Corp., 976 F.2d 614, 620 (10th Cir. 1992));11 see also Dairy Queen,

    Inc. v. Wood, 369 U.S. 469, 478 (1962) (“The necessary prerequisite to the right to maintain a suit

    for an equitable accounting, like all other equitable remedies, is, as we pointed out in Beacon

    Theatres, the absence of an adequate remedy at law.”). “In addition, a plaintiff must show that a

    balance is due in order to establish a right to an accounting.” Chieftain Royalty Co. v. Dominion

    Oklahoma Texas Expl. & Prod., Inc., No. CIV-11-344-R, 2011 WL 9527717, at *6 (W.D. Okla.

    July 14, 2011). A claim for conversion provides an adequate remedy at law, Boyer v. Cline, No.

    85-1562-C, 1989 WL 9338, at *1 (D. Kan. Jan. 17, 1989), as does a claim for trespass, Stanley v.

    Gallegos, No. CV 11-1108 GBW/JHR, 2018 WL 3801247, at *12 (D.N.M. Aug. 9, 2018) (“The



    10
       To the extent the OMC is attempting to declare the presence of the Project is an irreparable
    injury, this is precisely the kind of conclusory declaration Twombly forbids. As explained above,
    the mere presence of the Project is not unlawful under the Tenth Circuit’s Opinion, and it cannot
    amount to an irreparable injury.
    11
      These decisions apply Oklahoma law. This is consistent with Tenth Circuit precedent. See, e.g.,
    Davilla v. Enable Midstream Partners L.P., 913 F.3d 959, 965 (10th Cir. 2019) (“Because we lack
    a federal body of trespass law to protect the Allottees' federal property interests, we must borrow
    state law to the extent it comports with federal policy.”). Davilla went on to apply Oklahoma law
    since that is where the subject property was located. The Defendants follow that course here.
                                                  - 22 -
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 32 of 36




    availability of an adequate remedy at law [in the form of a trespass claim] forecloses equitable

    relief.”). This Court so found in Quarles v. Little River Energy Co., No. 00-CV-913-GKF-PJC,

    2008 WL 185715, at *1 (N.D. Okla. Jan. 18, 2008).

           The Complaint in Intervention pleads no facts that support any of the elements of an

    accounting. Most principally, the OMC has an adequate remedy at law in the form of money

    damages. The Complaint in Intervention asserts trespass and conversion claims, and money

    damages premised on the value of minerals “mined”—consistent with the Tenth Circuit’s

    Opinion—are available for those claims. There is no confidential relationship between the OMC

    and any of the Defendants, and the OMC has never made, and does not allege it made, a demand

    for an accounting or for the return of property. The OMC accordingly fails to plead sufficient facts

    demonstrating plausible entitlement to an accounting, and that claim should be dismissed.12

           C. The OMC Does Not Plead Sufficient Facts Demonstrating Entitlement to
              Disgorgement.

           The OMC’s attempt to pursue disgorgement also fails. Under Oklahoma law,

    “[d]isgorgement is . . . an equitable remedy.” Hitch Enterprises, Inc. v. Cimarex Energy Co., 859

    F. Supp. 2d 1249, 1258 (W.D. Okla. 2012). In Oklahoma, “[t]he long-standing rule [ ] is that a

    plaintiff may not pursue an equitable remedy when the plaintiff has an adequate remedy at law.”

    Krug v. Helmerich & Payne, Inc., 2013 OK 104, ¶ 34, 320 P.3d 1012, 1022. In Krug, the

    Oklahoma Supreme Court reversed a $119,522,750.00 disgorgement award because “a plaintiff

    may not pursue an equitable remedy when the plaintiff has an adequate remedy at law.” Id. at




    12
      To the extent that the OMC is attempting to pursue an accounting at law—which is “is a court’s
    enforcement of a legal duty to account created by contract and fiduciary status,” Margaret Blair
    Tr. v. Blair, 2016 OK CIV APP 47, ¶ 17, 378 P.3d 65, 72—such an effort is impermissible for an
    even more elementary reason: there is no contract or fiduciary relationship between the parties
    that would give rise to such a duty, and clearly none is pleaded (nor could it be).
                                                   - 23 -
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 33 of 36




    ¶ 43, 320 P.3d at 1023. In Schafer v. Centerpoint Energy Oklahoma Gas, No. 17-CV-365-GKF-

    FHM, 2018 WL 10140171, at *5 (N.D. Okla. May 21, 2018), this Court applied this principle and

    found that a plaintiff’s claims for, among other things, trespass provided an adequate remedy at

    law that precluded a claim for disgorgement. Even if it were not precluded by the Tenth Circuit’s

    decision (and it is), disgorgement still would be unavailable here as a matter of law because money

    damages are adequate to remedy any conversion or trespass.13

           The Defendants believe that the OMC may claim that Davilla v. Enable Midstream

    Partners L.P., 913 F.3d 959 (10th Cir. 2019), supports the remedy of disgorgement. Not so. The

    Tenth Circuit’s decision in Davilla does not mention the remedy of disgorgement—not once, nor

    does the Davilla district court’s decision which was reversed. See generally Davilla v. Enable

    Midstream Partners, L.P., 247 F. Supp. 3d 1233 (W.D. Okla. 2017). Ironically enough, the Tenth

    Circuit reversed the district court for failing to engage in “a full weighing of the equities” prior to

    issuing an injunction ordering a pipeline company to remove a pipeline from land allotted to

    individual tribal members in Oklahoma by Congress. 913 F.3d at 971. But suffice it to say,

    nothing in Davilla counsels disgorgement in this case.

    V.     BECAUSE THE COMPLAINT IN INTERVENTION DOES NOT (AND CANNOT) PLAUSIBLY
           ALLEGE THAT THE CONDUCT THE TENTH CIRCUIT FOUND TO BE UNLAWFUL IS
           ONGOING, THE CLAIM FOR “CONTINUING TRESPASS” FAILS.

           A claim for continuing trespass—as its name implies—“involves a continuing or repeated

    injury.” United States v. Hess, 194 F.3d 1164, 1176 (10th Cir. 1999); see also Fairlawn Cemetery




    13
      To the extent the OMC is attempting to pursue a separate claim for unjust enrichment, which is
    not readily apparent, it too would fail because the OMC does not plead any of the elements of a
    claim for unjust enrichment, see Horton v. Bank of Am., N.A., 189 F. Supp. 3d 1286, 1289-1290
    (N.D. Okla. 2016), including most principally lack of an adequate remedy at law. This Court, in
    Horton, dismissed such a claim due to the availability of a legal claim for money damages, which
    forecloses any assertion that the issue cannot be resolved in the current procedural posture.
                                                    - 24 -
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 34 of 36




    Ass'n v. First Presbyterian Church, 1972 OK 66, ¶ 15, 496 P.2d 1185, 1187 (continuing trespass

    requires conduct that “has continued . . . [and] appears will continue”). The only conduct of any

    Defendant that can possibly amount to a trespass of any variant is Osage Wind’s entire “operation”

    of “sort[ing] the rocks, crush[ing] the rocks into smaller pieces, and then exploit[ing] the crushed

    rocks as structural support for each wind turbine” that amounted to mining. See Osage Wind, LLC,

    871 F.3d at 1091. But that “operation” is not continuing, and the Complaint in Intervention does

    not plausibly plead any facts suggesting that it is (nor could it). Any theory of continuing wrong

    of any kind can only be based upon the theory that the Project’s mere presence is unlawful—

    something that the Tenth Circuit rejected. Thus, there can be no claim on continuing trespass in

    this case, and that claim should be dismissed.

                                                CONCLUSION

           The OMC’s Complaint in Intervention seeks to expand the remedial relief at issue in this

    case dramatically beyond the narrow damages remedy specifically contemplated by the Tenth

    Circuit’s Opinion (and subsequent mandate). Further, the Complaint in Intervention’s attempts to

    invoke the Court’s equitable jurisdiction are all impermissible, because (i) the OMC has already

    sought to enjoin the Project’s existence in the State Case and the Court there rejected its efforts to

    enjoin the Project or prohibit its presence, (ii) the injury at issue is not irreparable, and (iii) the

    damages remedy contemplated by the Tenth Circuit is in any event an adequate remedy at law.

    Finally, there can be no claim for continuing trespass because the only conduct that the Tenth

    Circuit found to be unlawful is not continuing and the OMC does not plead that it is.




                                                     - 25 -
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 35 of 36




                                                 Respectfully submitted,

                                                 /s/ Ryan A. Ray
                                                 Ryan A. Ray, OBA # 22281
                                                 NORMAN WOHLGEMUTH CHANDLER
                                                 JETER BARNETT & RAY, P.C.
                                                 2900 Mid-Continent Tower
                                                 401 South Boston Avenue
                                                 Tulsa, OK 74103
                                                 918-583-7571
                                                 918-584-7846 (facsimile)

                                                 -and-

                                                 Lynn H. Slade (admitted pro hac vice)
                                                 Sarah M. Stevenson (admitted pro hac vice)
                                                 MODRALL, SPERLING, ROEHL, HARRIS
                                                 & SISK, P.A.
                                                 Post Office Box 2168
                                                 Albuquerque, NM 87103-2168
                                                 505-848-1800
                                                 505-848-9710 (facsimile)

                                                 ATTORNEYS FOR DEFENDANTS,
                                                 OSAGE WIND, LLC, ENEL KANSAS, LLC
                                                 AND ENEL GREEN POWER NORTH
                                                 AMERICA, INC.


                                    CERTIFICATE OF SERVICE

            I hereby certify that on May 6, 2020, I electronically transmitted the attached Document to
    the Clerk of the Court using the ECF System for filing. Based on the electronic records currently
    on file, the Clerk of the Court will transmit a notice of Electronic Filing to the following ECF
    registrants:

    Cathryn D. McClanahan
    Abi Laura Fain
    David McCullough
    Jeffrey S Rasmussen
    Mary Kathryn Nagle
    Wilson Kirk Pipestem




                                                  - 26 -
Case 4:14-cv-00704-GKF-JFJ Document 150 Filed in USDC ND/OK on 05/06/20 Page 36 of 36




    The following non-ECF registrants have been served by First Class United States mail:

                                         Charles R. Babst, Jr.
                                           Attorney-Advisor
                               United States Department of the Interior
                                         Office of the Solicitor
                                      Tulsa Field Solicitor Office
                                         7906 East 33rd Street
                                           Tulsa, OK 74145
                                            (918) 669-7730
                                      Charles.babst@sol.doi.gov
                               Attorney for the United States of America


                                                              /s/ Ryan A. Ray
                                                              Ryan A. Ray




                                                - 27 -
